Case 3:19-cv-01226-L-AHG        Document 12-1         Filed 10/04/19      PageID.154       Page 1
                                         of 29




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 8
                               UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10

11   MATTHEW JONES; THOMAS FURRH; Case No.: 3:19-cv-01226-L-AHG
12   KYLE YAMAMOTO; PWGG, L.P. (d.b.a.
     POWAY WEAPONS AND GEAR and        Hon. M. James Lorenz and Magistrate
13
     PWG RANGE); NORTH COUNTY          Judge Allison H. Goddard
14   SHOOTING CENTER, INC.; BEEBE
     FAMILY ARMS AND MUNITIONS LLC
15
     (d.b.a. BFAM and BEEBE FAMILY
16   ARMS AND MUNITIONS); FIREARMS PLAINTIFFS’ MEMORANDUM OF
     POLICY COALITION, INC.;           POINTS AND AUTHORITIES IN
17
     FIREARMS POLICY FOUNDATION;       SUPPORT OF MOTION FOR
18   THE CAL GUN RIGHTS FOUNDATION PRELIMINARY INJUNCTION
     (formerly, CALGUNS FOUNDATION);
19
     and SECOND AMENDMENT              Complaint Filed: July 1, 2019
20   FOUNDATION,                       Amended Complaint Filed: July 30, 2019
21                                           Plaintiffs,
     v.                                                    Date: November 18, 2019
22
                                                           Time: 9:00 a.m.
23   XAVIER BECERRA, et al.,                               Department: 5B (5th Flr.)
24                                        Defendants.

25
26

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             PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG             Document 12-1             Filed 10/04/19          PageID.155           Page 2
                                              of 29




 1                                                 TOPICAL INDEX
 2
                                                                                                                         Page
 3

 4   I.     INTRODUCTION ................................................................................................ 1
     II.    THE CHALLENGED CALIFORNIA AGE-BASED
 5
            GUN BAN ............................................................................................................ 7
 6
     III.   FACTUAL BACKGROUND .............................................................................. 9
 7
     IV.    LEGAL STANDARD ........................................................................................ 10
 8
     V.     ARGUMENT – LIKELIHOOD OF SUCCESS ................................................ 11
 9          A.       California’s Age-Based Gun Ban Cannot Stand
10                   under the Textual and Historical Analysis Mandated by Heller ............. 11
11          B.       Under Heller, California’s Age-Based Gun Ban Abridges
                     Young Adults’ Second Amendment Right .............................................. 14
12
            C.       California’s Age-Based Gun Ban Flunks Strict
13                   Scrutiny and Intermediate Scrutiny ........................................................ 17
14          1.       Section 27510 is not “Substantially Related” to the State’s
                     Interests, nor a “Reasonable Fit” ............................................................. 18
15
                          a. “Mass School Shootings”................................................................ 19
16
                          b. “Maturity, Impulsive, Reckless”..................................................... 20
17
                          c. “Reduce Crime/Gun Violence”....................................................... 21
18
                          d. “Disproportionality” ....................................................................... 21
19
            D.       The Other Preliminary Injunction Factors Warrant Relief ..................... 23
20   VI.    CONCLUSION .................................................................................................. 26
21

22

23

24

25
26

27

28
                                                                 i
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG              Document 12-1           Filed 10/04/19         PageID.156          Page 3
                                               of 29




 1                                           TABLE OF AUTHORITIES
 2                                                                                                                    Page
     Federal Cases
 3
     Alliance for the Wild Rockies v. Cottrell,
 4          632 F.3d 1127 (9th Cir. 2011) ............................................................................ 25
     Am. Trucking Assn’s, Inc. v. City of Los Angeles,
 5
            559 F.3d 1046 (9th Cir. 2009) ............................................................................ 10
 6   Bauer v. Becerra, 858 F.3d 1216, 1222 (9th Cir. 2017)
            cert. denied, 138 S. Ct. 982 (2018) ...................................................................... 5
 7
     Binderup v. Attorney General,
 8          836 F.3d 336 (3d Cir. 2016) ............................................................................... 16
 9
     Chalk v. U.S. Dist. Ct. (Orange Cty. Superintendent of Schools),
            840 F.2d 701 (9th Cir. 1998) .............................................................................. 10
10   District of Columbia v. Heller
11
            (2008) 554 U.S. 570 ....................................................................... 1-5, 11, 13-14
     Edenfield v. Fane
12          (1993) 507 U.S. 761 .......................................................................................... 18
13
     Elrod v. Burns
            (1976) 427 U.S. 347 ........................................................................................... 23
14   Ezell v. Chicago,
15
            651 F.3d 684 (7th Cir. 2011) .............................................................................. 23
     Jackson v. City & County of San Francisco, 746 F.3d 953, 960
16          (9th Cir. 2014), cert. denied, 135 S. Ct. 2799 (2015) ................................ 2, 3, 12
17   Keyes v. Lynch 195 F. Supp.3d 702 .............................................................................. 16
     Klein v. City of San Clemente,
18
            584 F.3d 1196 (9th Cir. 2009) ............................................................................ 23
19   Lorillard Tobacco Co. v. Reilly
            (2001) 533 U.S. 525 .......................................................................................... 18
20
     McDonald v. City of Chicago
21          (2010) 561 U.S. 742 ............................................................................. 1, 5, 14, 17
     Melendres v. Arpaio,
22
            695 F.3d 990 (9th Cir. 2012) ............................................................................ 23
23   Monterey Mech. Co. v. Wilson,
24
            125 F.3d 702 (9th Cir. 1997) .............................................................................. 23

25
26

27

28
                                                                 i
                  PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG              Document 12-1            Filed 10/04/19         PageID.157          Page 4
                                               of 29



 1                                      TABLE OF AUTHORITIES
 2                                                                                                                     Page
     Nat’l Rifle Ass’n. v. Bureau of Alcohol, Tobacco, Firearms,
 3         and Explosives (NRA I), 700 F.3d 185 (5th Cir. 2012) ................................ 15, 16
 4   Nat’l Rifle Ass’n v. Bureau of Alcohol, Tobacco, Firearms,
           and Explosives (NRA II), 714 F.3d 334 (5th Cir. 2013)..................................... 16
 5
     Nunn v. Georgia
 6
          (1846) 1 Ga. 243 ................................................................................................. 14
 7   Parker v. District of Columbia,
 8          478 F.3d 370 (D.C. Cir. 2007) ........................................................................... 15
     Rodde v. Bonta,
 9          357 F.3d 988 (9th Cir. 2004) .............................................................................. 25
10   Rodriguez v. Robbins,
            715 F.3d 1127 (9th Cir. 2013) ............................................................................ 25
11   Se. Promotions, Ltd. V. Conrad
12          (1975) 420 U.S. 546 ........................................................................................... 22
     Silvester v. Harris,
13          843 F.3d 816 (9th Cir. 2016) cert. denied, 138 S. Ct. 945 (2018) .............. 3-6, 17
14   Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 664 (1994) ....................................... 6
15   Tyler v. Hillsdale County Sheriff’s Dep’t (Tyler II),
16
           837 F.3d 678 (6th Cir. 2016) ...................................................................... 16, 18
     United States v. Chovan, 735 F.3d 1127 (9th Cir. 2013) ............................................. 17
17
     United States v. Miller
18
           (1939) 307 U.S. 174 ........................................................................................... 13
19   United States v. Virginia
20         (1996) 518 U.S. 515 ........................................................................................... 18
21   Valle del Sol Inc. v. Whiting,
           732 F.3d 1006 (9th Cir. 2013) ............................................................................ 25
22   Vicenty v. Bloomberg,
23         476 F.3d 74 (2nd Cir. 2007) ............................................................................... 22
     Winter v. Nat. Res. Def. Council, Inc.
24
          55 U.S. 7, 20 (2008)............................................................................................. 10
25

26
27

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                                                                 ii
                  PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1         Filed 10/04/19      PageID.158       Page 5
                                         of 29



 1   I.     INTRODUCTION
 2
            The U.S. Supreme Court held in District of Columbia v. Heller, 554 U.S. 570,
 3

 4   595 (2008) that the text, structure, and history of the Second Amendment confirm it

 5   “confer[s] an individual right to keep and bear arms.” Since then, the Supreme Court
 6
     concluded in McDonald v. City of Chicago, 561 U.S. 742 (2010), that this individual
 7

 8   right is a fundamental one that applies with full force to the states as well. Id. at 748

 9   (plurality opinion); id. at 805 (Thomas, J., concurring in part and concurring in the
10
     judgment). Further, “self-defense is a basic right” and the “central component” of the
11

12   Second Amendment’s guarantee of an individual’s right to keep and bear arms. Id. at

13   767.
14
            Against this backdrop, in 2019, California expanded its prohibition on the sale,
15

16   supply, delivery, possession, or control of any firearm to any person under 21 years of
17   age. Cal. Penal Code § 27510(a). The ban applies broadly to encompass all licensed
18
     persons, including those with a valid federal firearms license (commonly known as
19

20   “FFL dealers”). Id. §§ 27510(a) and 26700. It broadly applies to any FFL firearm sale
21   or transfer and all private party firearm transfers to persons 18 to 20 years of age. See
22
     Cal. Penal Code § 27545. The ban also precludes licensed gun ranges from renting
23

24   firearms to those 18 to 20, and from allowing Young Adults to use or handle firearms
25   during firearms safety classes. The result is Section 27510 prohibits an entire class of
26
     law-abiding adults — 18-to-20-years-old (Young Adults) — from obtaining any
27

28   firearm. A violation is punishable by imprisonment or a fine, or both. Id. § 27590(c).

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             PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1         Filed 10/04/19      PageID.159       Page 6
                                         of 29



 1         This criminalization of Young Adults’ acquisition and possession of any
 2
     firearm in California hits directly at the Second Amendment’s core right of self-
 3

 4   defense. It represents a ban on acquisition, and a ban on possession. It is an under-21

 5   firearm ban. The ban is applicable to all ordinary law-abiding Young Adults1 and its
 6
     so-called “exemptions” are inapplicable, illusory, and irrelevant (hereafter, “California
 7

 8   age-based gun ban” or “Section 27510”).2

 9         California’s age-based gun ban goes farther than did the District of Columbia’s
10
     ordinance struck down in Heller—a citizen was required to keep his or her firearm
11

12   inoperable, but he or she could at least acquire and possess a rifle. Heller, 554 U.S. at

13   630; and see Jackson v. City & County of San Francisco, 135 S. Ct. 2799 (2015)
14
     (Thomas, J., dissenting from denial of certiorari). (“But nothing in our decision in
15

16   Heller suggested that a law must rise to the level of the absolute prohibition at issue in
17   that case to constitute a “substantial burden” on the core of the Second Amendment
18
     right.”) (citing Heller, 554 U.S., at 628-635); Similarly, California’s age-based gun
19

20

21   1
      In California, “[a]n adult is an individual who is 18 years of age or older.” Cal. Fam.
22
     Code § 6501; and see § 6502.
     2
      For all practical purposes, California’s law is a complete, categorical ban because it
23
     only provides a handful of exemptions inapplicable to ordinary, law-abiding Young
24   Adults. The ban “does not apply to” the sale, supplying, delivery, or giving
     possession or control of a firearm to (i) a person 18 years of age or older that holds a
25
     valid hunting license, (ii) an active peace officer 18 years of age or older, (iii) an
26   active federal officer or law enforcement agent 18 or older, (iv) a reserve peace
     officer 18 or older, (v) an active member in the U.S. military 18 or older, and (vi) a
27
     person honorably discharged from the military 18 or older. Cal. Penal Code
28   § 27510(b)(1), (b)(2)(A)-(E). See Declaration of Brandon Combs (Combs Dec.), ¶¶
     16-32, Exhibits 6 through 13.
                                                 2
             PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1         Filed 10/04/19      PageID.160       Page 7
                                         of 29



 1   ban, which categorically prohibits the purchase, acquisition, possession, use, or
 2
     control of any firearm by any Young Adult fails under Heller. Simply stated, the ban
 3

 4   flunks the Heller standards.

 5          Based on Heller, the Ninth Circuit employs a two-step analysis when evaluating
 6
     Second Amendment claims. Silvester v. Harris, 843 F.3d 816, 820-822 (9th Cir. 2016)
 7

 8   cert. denied, 138 S. Ct. 945 (2018). Courts ask whether the challenged law “falls

 9   within a ‘well-defined and narrowly limited’ category of prohibitions ‘that have been
10
     historically unprotected.’” Jackson v. City & County of San Francisco, 746 F.3d 953,
11

12   960 (9th Cir. 2014), cert. denied, 135 S. Ct. 2799 (2015) (citations omitted.) This

13   limited category may involve “one of the ‘presumptively lawful regulatory measures’
14
     identified in Heller,” or a prohibition where “persuasive historical evidence”
15

16   demonstrates falls outside the historical scope of the Second Amendment.” Id.
17   (citations omitted; emphasis added).
18
            Heller states that the government may continue to impose laws on the sale,
19

20   possession, or use of firearms that are traditional, “longstanding” prohibitions. 554
21   U.S. at 626-627. The Heller Court listed examples of such longstanding (and, thus,
22
     presumptively permissible) laws such as those prohibiting the possession of guns by
23

24   felons and the mentally ill. Id. at 626. The Supreme Court added that the analysis of
25   whether other firearm restrictions are permissible must be based on their “historical
26
     justifications.” Id. at 635.
27

28

                                                       3
             PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1         Filed 10/04/19      PageID.161       Page 8
                                         of 29



 1         Here, there are no “historical justifications” for banning the acquisition and
 2
     possession of firearms by law-abiding Young Adults. Indeed, the text and historical
 3

 4   evidence mandated by Heller demonstrates that Young Adults always have been

 5   considered part of both the “organized” and “unorganized” militia in the United
 6
     States. No age-based firearm acquisition/possession restrictions existed during the pre-
 7

 8   colonial and founding-era of the United States. In fact, during the founding era,

 9   numerous militia and other acts (both federal and state) explicitly required Young
10
     Adults to be armed and keep guns in the home.3
11

12         Further, because the Second Amendment right to keep and bear arms is not

13   limited to militia service, Young Adults maintain the individual right to keep and bear
14
     arms for self-defense and all other lawful purposes. Heller, 554 U.S. at 627.
15

16   Accordingly, California’s age-based gun ban is an impermissible restriction under the
17   Second Amendment, destroying such rights. Silvester v. Harris, 843 F.3d at 821
18
     (“A law that imposes such a severe restriction on the fundamental right of self defense
19

20   of the home that it amounts to a destruction of the Second Amendment right is
21   unconstitutional under any level of scrutiny.”) (citation omitted).
22

23
     3
24
       See Declaration of David T. Hardy (Hardy Dec.) filed concurrently herewith,
     Ex. 17. Kopel & Greenlee 2019 provide exhaustive — indeed, overwhelming —
25   historical evidence that when the Second Amendment was ratified, Young Adults had
26
     the right to keep and bear arms. “State and colonial assemblies collectively legislated
     on the militia hundreds of times” (with the militia entry age generally at 15-18) and
27   “[f]rom the first federal militia laws to the present, the [U.S.] militia … has always
28   included eighteen-year-olds…. Laws that prohibit or nearly prohibit young adults
     from [keeping and bearing arms] are unconstitutional.” Id. at 383-391, 413-465, 480.
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             PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1         Filed 10/04/19      PageID.162       Page 9
                                         of 29



 1         Plaintiffs’ contend the proper analysis for Second Amendment challenges is
 2
     found in the text of the Constitution itself, using history, tradition, and other indicia of
 3

 4   original public meaning to clarify the meaning and scope of such text. (“Heller and

 5   McDonald leave little doubt that courts are to assess gun bans and regulations based
 6
     on text, history, and tradition, not by a balancing test such as strict
 7

 8   or intermediate scrutiny.” Heller v. District of Columbia, 670 F.3d 1244, 1271 (D.C.

 9   Cir. 2011) (Kavanaugh, J., dissenting)). Section 27510 bans ordinary law-abiding
10
     Young Adults’ core Second Amendment rights to purchase, transfer, acquire, and
11

12   possess firearms for lawful purposes. Thus, no scrutiny analysis is required and the

13   challenged laws, policies, practices, and customs in this case must be enjoined. But
14
     “[b]ecause Heller did not specify a particular level of scrutiny for all Second
15

16   Amendment challenges, courts in this circuit determine the appropriate level by
17   considering ‘(1) how close the challenged law comes to the core of the Second
18
     Amendment right, and (2) the severity of the law’s burden on that right.’” Bauer v.
19

20   Becerra, 858 F.3d 1216, 1222 (9th Cir. 2017), cert. denied, 138 S. Ct. 982 (2018)
21   (quoting Silvester, 843 F.3d at 821).
22
           An historical analysis of Young Adults Second Amendment rights
23

24   unquestionably establishes Section 27510 strikes at the core of the Second
25   Amendment. Section 27510 is a categorical ban on all types of firearms for Young
26
     Adults and severely burdens their right to keep and bear arms for self-defense and
27

28

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             PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.163        Page 10
                                          of 29



  1   other lawful purposes. Thus, should tiered scrutiny be applied, it should be strict
  2
      scrutiny.
  3

  4         However, if this Court applies intermediate scrutiny, the challenges laws and

  5   policies must fail and the motion should be granted. The Ninth Circuit’s precedents
  6
      demand that “(1) the government’s stated objective … be significant, substantial, or
  7

  8   important; and (2) there be … a ‘reasonable fit’ between the challenged regulation and

  9   the asserted objective.” Silvester, 843 F.3d at 821-822 (citation omitted).                      “[The
 10
      government] must demonstrate that the recited harms are real, not merely conjectural,
 11

 12   and that the regulation will in fact alleviate these harms in a direct and material way”.

 13   Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 664 (1994). As shown below, the
 14
      state of California made no showing of any substantiated legitimate objective — let
 15

 16   alone a “significant, substantial, or important” one — for the challenged ban. Further,
 17   the state’s attempt to do so does not satisfy the additional “reasonable fit” requirement
 18
      as they cannot show that Section 27510 will in fact alleviate these harms in a direct
 19

 20   and material way”.
 21         Thus, Plaintiffs are likely to succeed on the merits. They also satisfy all other
 22
      preliminary injunction requirements. California’s age-based gun ban has denied an
 23

 24   enumerated constitutional right, which represents an irreparable injury per se. There is
 25   no public interest in denying otherwise legally-eligible people a constitutional right,
 26
      especially since California has allowed Young Adults to purchase, at the very least,
 27

 28   rifles and shotguns up until December 31, 2018. Moreover, the prior status quo can be

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              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG         Document 12-1 Filed 10/04/19              PageID.164        Page 11
                                           of 29



  1   preserved with no demonstrable harm to anyone. The State of California must not be
  2
      allowed to eliminate the fundamental, individual rights of law-abiding Young Adults
  3

  4   on the basis of conjecture and animus. California’s age-based ban on Young Adults,

  5   Penal Code § 27510(a) and the Defendants’ policies, practices, and customs related
  6
      thereto, should be declared unconstitutional and enjoined.
  7

  8   II.     THE CHALLENGED CALIFORNIA AGE-BASED GUN BAN

  9           In 1917, California law contained no age restrictions on firearm sales or
 10
      transfers. Hardy Dec. ¶ 51. In 1923, California largely adopted the Uniform Firearms
 11

 12   Act in enacting Assembly Bill 263 (Hawes), and imposed a requirement that

 13   receiving individuals be 18 years of age or older for the sale, delivery, or transfer of
 14
      “any pistol, revolver or other firearm capable of being concealed upon the person …”
 15

 16   Hardy Dec. ¶ 51. (See also Fiscal v. City and County of San Francisco, 70 Cal. Rptr.
 17   3d 324 at 331.) Even then, there was no state ban on the sale, supply, delivery,
 18
      possession, or control of any “long guns” (e.g., shotguns, rifles) based on age—at all.
 19

 20   Ibid.
 21           However, effective January 1, 2019, then-Governor Edmund G. Brown, Jr.,
 22
      signed into law Senate Bill 1100 (“SB 1100”, 2017-2018 Reg. Sess.), which amended
 23

 24   Section 27510 to provide that a person licensed under the Penal Code sections 267000
 25   to 26915, inclusive, – a person with a “valid federal firearms license” – “shall not sell,
 26
      supply, deliver, or give possession or control of a firearm to any person under 21 years
 27

 28   of age.” See Cal. Penal Code § 26700.

                                                         7
               PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG         Document 12-1 Filed 10/04/19              PageID.165        Page 12
                                           of 29



  1         Prior to enactment of SB 1100, California law prohibited the sale or transfer of
  2
      a handgun, except as exempted, to any person under the age of 21, but expressly
  3

  4   allowed a person at least 18 years of age to buy or transfer “long guns”. See Hardy

  5   Dec. ¶ 52. Existing federal law also already prohibits Young Adults from purchasing
  6
      handguns only from licensed federal firearms dealers. 18 U.S.C. § 922(b)(1).
  7

  8         With enactment of SB 1100, however, California’s ban applies to all types of

  9   firearms. There can be no sale, supply, delivery, possession, or control of any firearm
 10
      to any person under 21 years of age in California — except for a few exemptions that
 11

 12   are either inapplicable or irrelevant to virtually all ordinary, law-abiding Young

 13   Adults. See Cal. Penal Code § 27510(b)(1), (b)(2)(A)-(E);4 See also Combs Dec., ¶¶
 14
      16-32.
 15

 16         Further, the licensed firearms dealers and ranges face substantial criminal
 17   penalties if they violate the current law. Penal Code section 27510(a); Penal Code §
 18
      27590.5 Make no mistake, California’s age-based gun ban does not impose reasonable
 19

 20   conditions and qualifications on the commercial sale of firearms. Instead, it is a ban
 21   on the sale or transfer of any firearms to any person under age 21.
 22
      4
 23      Plaintiffs have no desire to hunt, join law enforcement, or enlist in military in order
      to exercise their rights. They simply wish, as is their right, to acquire firearms for
 24   self-defense and other lawful purposes, like competitions and sport. See Plaintiff
 25   Declarations filed concurrently herewith – Jones Dec. ¶¶ 2-8; Furrh Dec. ¶¶ 2-11;
      Yamamoto Dec. ¶¶ 2-10. Also, it is no answer that some may be able to get a hunter’s
 26   license, as that license is not “easy” to obtain or a relevant gun-safety program. See
 27   Declaration of David Bogan. ¶¶ 1-30.
      5
 28     See Declarations John Phillips, ¶¶ 2-8; Darin Prince, ¶¶ 2-10; Matthew Beebe, ¶¶2-
      7; Anthony Williams, ¶¶ 2-12.
                                                         8
               PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.166        Page 13
                                          of 29



  1   III.   FACTUAL BACKGROUND
  2
             The individual Plaintiffs are lawful, ordinary, law-abiding Young Adults, not
  3

  4   otherwise prohibited from acquiring and possessing firearms. Jones Dec. ¶ 2-8; Furrh

  5   Dec. ¶ 2-11; Yamamoto Dec. ¶ 2-10; Williams Dec. ¶ 2-11. Each Plaintiff has
  6
      attempted to purchase a firearm in California. They were denied their Second
  7

  8   Amendment rights based solely on their age. Id. As Young Adults, each Plaintiff can

  9   vote, enter into contracts, get married, enter the military voluntarily, be selected for
 10
      and inducted for service into the military — all without restriction on the basis of their
 11

 12   age. Hardy Dec. ¶ 25, Ex. 17, at 478-480.

 13          Plaintiffs Poway Weapons and Gear (PWG), Beebe Family Arms and
 14
      Munitions (Beebe Arms), and North County Shooting Center ((NCSC) have been
 15

 16   forced to stop all sales and firearm transfers to Young Adults. Phillips Dec. ¶ 2-8;
 17   Beebe Dec. ¶ 2-7; Prince Dec. ¶ 2-10. Plaintiffs PWG and NCSC are licensed
 18
      shooting ranges. Each entity has been forced to deny Young Adults the ability to rent,
 19

 20   use, and train for proficiency and safety with firearms at their ranges. Phillips Dec. ¶
 21   3-8; Prince Dec. ¶ 2-10. Even if a Young Adult is accompanied by an individual over
 22
      21, PWG, NCSC, and other gun ranges cannot rent or provide firearms to them for
 23

 24   fear of violating Section 27510 and Defendants’ enforcement of it. Id. Further, PWG
 25   and NCSC have been forced to prevent Young Adults from attending and taking part
 26
      in firearms and hunter education courses, as each of these courses call for attendees to
 27

 28   handle, use, and control firearms. Phillips Dec. ¶ 3-8; Prince Dec. ¶ 2-10.

                                                        9
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.167        Page 14
                                          of 29



  1         Plaintiffs Firearms Policy Coalition (FPC), Firearms Policy Foundation (FPF),
  2
      California Gun Rights Foundation (CGF), and Second Amendment Foundation (SAF)
  3

  4   represent their Young Adult members that have been denied their Second Amendment

  5   rights and that would otherwise purchase and acquire firearms but for Penal Code
  6
      section 27510. Combs Dec. ¶ 2-10; Gottlieb Dec. ¶ 2-5. Some Young Adults maintain
  7

  8   their own homes, others rent. Some are married, others are single parents raising

  9   children in the home. Some are alone, at college. To deprive these Young Adults the
 10
      right to acquire and possess a firearm for self-defense and other lawful purposes
 11

 12   infringes on the “core” of their Second Amendment rights.

 13   IV.   LEGAL STANDARD
 14
            “The purpose of a preliminary injunction is to preserve the status quo pending a
 15

 16   determination of the action on the merits.” Chalk v. U.S. Dist. Ct. (Orange Cty.
 17   Superin. Of Schs.), 840 F.2d 701, 704 (9th Cir. 1998). To obtain such relief, the
 18
      moving party must show: (1) a likelihood of success on the merits; (2) a likelihood of
 19

 20   irreparable harm absent preliminary relief; (3) that the balance of equities tips in his
 21   favor; and (4) that an injunction is in the public interest. Am. Trucking Assn’s,
 22
      Inc. v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009) (quoting
 23

 24   Winter v. Nat. Res. Def. Council, Inc., 55 U.S. 7, 20 (2008).
 25

 26
 27

 28

                                                       10
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.168        Page 15
                                          of 29



  1   V.    ARGUMENT – LIKELIHOOD OF SUCCESS
  2
            A.      California’s Age-Based Gun Ban Cannot Stand
  3
                    under the Textual and Historical Analysis Mandated by Heller
  4
            The original text and historical understanding of the Second Amendment
  5

  6   confirm that law-abiding, able-bodied 18-to-20-year-olds were part of the militia since
  7   both the colonial and the Founding periods. See Hardy Dec. ¶¶ 25, 71; Ex. 17, at 413-
  8
      465. In fact, “over 250 colonial and state militia statutes through 1799 mandated that
  9

 10   persons,” usually 16 or 18 (and older) serve in the military using their own arms. Id.
 11   Ex. 17, at 413-414.
 12

 13         Moreover, “massive and uncontradictory evidence from the Founding era”

 14   shows that “18-to-20-year-olds did have the right to keep and bear arms, and indeed
 15
      were required by law to exercise that right.” See Hardy Dec. ¶¶ 9-77, Ex. 16, at 354-
 16

 17   360. For example, only months after the Second Amendment was ratified, Congress
 18   took steps to “provide for orgainizing, arming, and disciplining, the Militia” (U.S.
 19
      Const. art. I, § 8, cl. 16), by enacting the Militia Act of 1792, requiring that “each and
 20

 21   every free able-bodied white male citizen of the respective states, resident thereon,
 22   who is or shall be of the age of eighteen years, and under the age of forty-five years
 23
      … shall severally and respectively be enrolled in the militia[.]” Hardy Dec. ¶¶ 16, 23;
 24

 25   Ex. 17, at 460-462; Ex. 15 emphasis added. The original Militia Act provides
 26   powerful evidence that Second Amendment rights vest at age 18. The legislative
 27
      history of the Militia Act further supports this contention.
 28

                                                       11
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.169        Page 16
                                          of 29



  1         In 1790, Secretary of War Henry Knox submitted a militia plan to Congress
  2
      stating that “all men of the legal military age should be armed,” and that [t]he period
  3

  4   of life in which military service shall be required of [citizens] [was] to commence at

  5   eighteen.” 1 ANNALS OF CONG. app. 2141, 2145-2146; Hardy Dec. ¶¶ 28-31, Ex.
  6
      17, at 462. Representative Jackson agreed “that from eighteen to twenty-one was
  7

  8   found to be the best age to make soldiers of.” Ibid. (emphasis added). Eighteen was

  9   the age that George Washington recommended for militia enrollment. See Hardy Dec.
 10
      ¶¶ 28-31, Ex. 17, at 463; 26 WRITINGS OF GEORGE WASHINGTON 389 [John C.
 11

 12   Fitzpartick ed., 1938]. Further, that “18-year-olds should be part of the militia was

 13   hardly controversial,” as they “had been part of every colonial and state militia from
 14
      the very beginning, except for a nineteen-year period in Virginia in the middle of the
 15

 16   eighteenth century.” Hardy Dec. ¶ 17, Ex. 17, at 463. Indeed, numerous state militia
 17   laws enacted shortly before the Second Amendment provide additional evidence that
 18
      the right to arms vested at 18. Id. ¶ 16, Ex. 17, 413-460.
 19

 20         Able-bodied 18-to-20-year-olds not only were entrusted with the responsibility
 21
      of bearing arms in defense of their country but were also required by law to keep their
 22

 23   own arms to do so. See Hardy Dec. ¶¶ 26-27, 32-34, Ex. 15 (Militia Act, 1 Stat. 271

 24   [requiring each enrollee, regardless of age, to “provide himself with a good musket or
 25
      firelock”]); and see United States v. Miller, 307 U.S. 174, 179 (1939) (“when called
 26
 27   for service these men were expected to appear bearing arms supplied by themselves”).

 28

                                                       12
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.170        Page 17
                                          of 29



  1         Heller may not have “clarif[ied] the entire field” of Second Amendment
  2
      analysis, 554 U.S. at 634, but it surely foreclosed any argument that the Second
  3

  4   Amendment does not protect individuals who, at the time of ratification, were

  5   required by both state and federal law to keep and bear arms in service of the militia.
  6
      While the right protected by the Second Amendment is by no means limited to militia
  7

  8   service, “the threat that the new Federal Government would destroy the citizens’

  9   militia by taking away their arms was the reason that the right … was codified in the
 10
      written Constitution.” Heller, 554 U.S. at 559.
 11

 12         Unsurprisingly, there are no colonial or founding era laws prohibiting the
 13
      acquisition or possession of firearms by Young Adults due solely to age. Hardy Dec.
 14

 15
      ¶¶ 35, 67 Ex. 16, at 354-360. Similarly, “there were no age-based arms restrictions in

 16   the early republic or the Jacksonian period.” Id., Ex. 17, at 465.
 17
            Even present day, able-bodied male citizens at least 17 years of age (and under
 18

 19   45 years of age) are designated members of the U.S. militia pursuant to federal statute,
 20
      10 U.S.C. § 246(a), and may be selected and inducted for training and service into the
 21
      United States armed forces, 50 U.S.C. § 3803(a). As such, they are eligible to serve in
 22

 23   the military and to die for their country based on their age. In addition, the “militia of
 24
      the State” consists of both the organized and unorganized militia. The State’s
 25

 26
      organized militia encompasses the National Guard, State Military Reserve and the

 27   Naval Militia. Cal. Mil. and Vet. Code § 120. “The unorganized militia consist of all
 28
      persons liable to service in the militia, but not members of the National Guard, the
                                                       13
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG         Document 12-1 Filed 10/04/19             PageID.171        Page 18
                                           of 29



  1   State Military Reserve, or the Naval Militia.” Id. § 121 (emphasis added).
  2
      Accordingly, both the State’s organized and unorganized militia consist of all able-
  3

  4   bodied male citizens … who are between the ages of eighteen and forty-five ….” Id. §

  5   122 (emphasis added).
  6
            B.          Under Heller, California’s Age-Based Gun Ban Abridges
  7
                        Young Adults’ Second Amendment Right
  8
            Under Heller, “the Second Amendment right is exercised individually and
  9

 10   belongs to all Americans.” 554 U.S. at 581. “‘The right of the whole people, old and
 11   young, men, women and boys, and not militia only, to keep and bear arms of every
 12
      description, and not just such merely as are used by the militia, shall not be infringed,
 13

 14   curtailed, or broken in upon, in the smallest degree.’” Id. at 612-613 (quoting Nunn v.
 15   Georgia, 1 Ga. 243, 250 (1846) (emphasis added).
 16

 17         Accordingly, Young Adults’ right to keep and bear arms is not limited to
 18   keeping and bearing arms for militia service; it also embraces an individual’s right for
 19
      self-defense and other lawful purposes. Heller, 554 U.S. at 629, 635; and McDonald,
 20

 21   561 U.S. at 780. Thus, in addition to the militia right, the Second Amendment
 22   guarantees the personal right to keep and bear arms. Under both interpretations,
 23
      Young Adults have the right to keep and bear arms; and California’s age-based gun
 24

 25   ban destroys that right.
 26
            Now, the Fifth Circuit decision in Nat’l Rifle Ass’n. v. Bureau of Alcohol,
 27

 28   Tobacco, Firearms, and Explosives (NRA I), 700 F.3d 185 (5th Cir. 2012) should also

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              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.172        Page 19
                                          of 29



  1   be addressed. The court rejected the Second Amendment rights of Young Adults in
  2
      response to a challenge to the federal statute prohibiting licensed dealers from selling
  3

  4   handguns to 18-to-20-year-olds; however, it is not controlling, nor persuasive; it has

  5   been roundly criticized; and it is easily distinguished. The Fifth Circuit itself
  6
      emphasised that the federal law was “[f]ar from a total prohibition on handgun
  7

  8   possession and use” because, among other things, Young Adults may purchase long-

  9   guns (e.g., shotguns, rifles) through licensed dealers and through private transfers.
 10
      NRA I, 700 F.3d at 206-207 (citations omitted). Additionally, unlike California’s
 11

 12   age-based gun ban, the Fifth Circuit decision still allowed private transfers of

 13   handguns to Young Adults. Simply, the Fifth Circuit was not presented with a ban on
 14
      all sales or transfers of any firearm by Young Adults. Nevertheless, see Heller,
 15

 16   554 U.S. at 629 (“it is no answer to say, … that it is permissible to ban the possession
 17   of handguns so long as the possession of other firearms (i.e., long guns) is allowed”);
 18
      Parker v. District of Columbia, 478 F.3d 370, 400 (D.C. Cir. 2007).
 19

 20         Moreover, the Fifth Circuit relied on inapplicable, generalized gun safety
 21
      regulations; dubious laws disarming and prohibiting sales of arms to certain groups—
 22

 23   such as Indians, slaves, Loyalists, felons, and the mentally ill — and wrongly tied

 24   those laws to Young Adults. NRA I, 700 F.3d at 200, 206-207; See also Hardy Dec.
 25
      ¶¶ 44-47, Ex. 16. Subsequent successful challenges to the federal law by various
 26
 27

 28

                                                       15
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.173        Page 20
                                          of 29



  1   groups also continue to raise significant doubts as to the constitutionality of age-based
  2
      restrictions.6
  3

  4          The Fifth Circuit panel (by a one-vote margin) declined to consider en banc the
  5
      constitutionality of the federal law, but Judge Edith H. Jones, joined by five of her
  6
      colleagues, issued a compelling dissent in which she contended that the law was an
  7

  8   unconstitutional infringement on Second Amendment rights. Nat’l Rifle Ass’n v.
  9
      Bureau of Alcohol, Tobacco, Firearms, and Explosives (NRA II), 714 F.3d 334, 336
 10

 11
      (5th Cir. 2013) (Jones, J., dissenting from denial of rehearing en banc). “History and

 12   tradition yield proof that 18-to-20-year olds had full Second Amendment rights.” Id.,
 13
      at 339. Moreover, “using the 1968 Omnibus Crime Control gun regulations against
 14

 15
      this age group to contradict the original meaning of the Second Amendment is

 16   contrary to Heller…. Drawing analogies between this age group and felons and the
 17
      mentally ill is not only offensive but proves too much.” Id., at 343. Secondary
 18

 19   authorities support this analysis. See Hardy Dec. ¶¶ 44-47, Ex. 16, at 342, 355-372.

 20
             C.         California’s Age-Based Gun Ban Flunks Strict
 21                     Scrutiny and Intermediate Scrutiny
 22          As shown above, it is clear, the challenged law abridges conduct that falls
 23
      within the core of the Second Amendment right. Thus, Plaintiffs contend that this
 24

 25

 26
      6
       See Tyler v. Hillsdale County Sheriff’s Dep’t (Tyler II), 837 F.3d 678, 699 (6th Cir.
      2016); Binderup v. Attorney General, 836 F.3d 336, 356-357 (3d Cir. 2016); Keyes v.
 27   Lynch, 195 F. Supp.3d 702, 722; and see Hardy Dec. ¶¶ 44-47, Ex. 16, Christopher
 28   M. Johnson, Second-Class: Heller, Age, and the Prodigal Amendment, Columbia
      Law Review, Vol. 117, No. 6 (Oct. 2017), at 1585-1586, 1594-1595 (Johnson 2017).
                                                       16
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.174        Page 21
                                          of 29



  1   case, like Heller and McDonald, should focus on the “history and tradition” of the
  2
      right to keep and bear arms rather than a balancing test because Section 27510 is a
  3

  4   firearm ban for Young Adults which eliminates their Second Amendment rights.

  5   Heller II, 670 F.3d 1244, 1269-70, 1280, 1284 (D.C. Cir. 2001) (Kavanaugh, J.
  6
      dissenting) As such, Section 27510 is unconstitutional and should be enjoined.
  7

  8         If, however, a level of means-end review is selected by this Court, strict
  9
      scrutiny is the test. Strict scrutiny requires the government to prove that the restriction
 10

 11
      on a constitutional right furthers a compelling interest and is narrowly tailored to

 12   achieve that interest. Silvester, 843 F.3d at 821 (“A law that implicates the core of the
 13
      Second Amendment right and severely burdens that right warrants strict scrutiny”).
 14

 15
      Without waiving its contentions, however, Plaintiffs note that the Ninth Circuit has

 16   previously applied an intermediate scrutiny two-step analysis in other Second
 17
      Amendment challenges, see, e.g., Chovan, 735 F.3d at 1138-1139. Thus, to prevent
 18

 19   duplicative analysis, Plaintiffs present their contentions under intermediate scrutiny.

 20         First, to uphold a statute under intermediate scrutiny, the Ninth Circuit has
 21
      identified two requirements: “(1) the government’s stated objective must be
 22

 23   significant, substantial, or important; and (2) there must be a ‘reasonable fit’ between

 24   the challenged regulation and the asserted objective.” Silvester, 843 F.3d at 821-822
 25
      (citation omitted). Second, intermediate scrutiny requires that the government
 26
 27   “demonstrate that the harms it recites are real,” beyond “mere speculation or

 28   conjecture” (Edenfield v. Fane, 507 U.S. 761, 770-771 (1993)), and will “in fact

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              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG         Document 12-1 Filed 10/04/19             PageID.175        Page 22
                                           of 29



  1   alleviate” the government’s concerns. Lorillard Tobacco Co. v. Reilly, 533 U.S. 525,
  2
      555 (2001). Moreover, “the burden of justification is demanding and it rests entirely
  3

  4   on the State.” Tyler v. Hillsdale County Sheriff’s Dept., 837 F.3d 678, 694 (6th Cir.

  5   2016), quoting United States v. Virginia, 518 U.S. 515, 533 (1996). Defendants’
  6
      cannot meet the burden.
  7

  8                 1.        Section 27510 is not “Substantially Related” to the
                              State’s Interests, nor a “Reasonable Fit”
  9
            The state of California has generally identified the following state interests in
 10

 11   passing California’s age-based gun ban: (1) “mass school shootings,” such as those
 12
      that occurred at Stoneman Douglas High School in Parkland, Florida, Sandy Hook
 13
      Elementary School in Newtown, Connecticut, and Columbine High School in
 14

 15   Colorado (Combs Dec. ¶¶ 12-15, Ex. 5, at 23; (2) Young Adults are immature,
 16
      impulsive, and reckless (id. Ex. 2, at 12 and Ex. 4, at 20); (3) crime reduction/reduced
 17
      gun violence (id. Ex. 3, at 15); and (4) Young Adults are disproportionally linked to
 18

 19   crime. Id. Ex. 4, at 20. Each are important concerns, but none are supported by facts
 20
      and reasonable inferences based on relevant data. Further, though not our burden of
 21
      proof, Plaintiff’s evidence demonstrates California’s age-based ban is not a
 22

 23   “reasonable fit” for achieving the stated interests. See Marvell Dec. ¶¶ 1-19; and Lott
 24
      Dec. ¶¶ 1-22.
 25

 26
                         a.      “Mass School Shootings”

 27         Although horrific, mass school shootings are rare, and those shootings
 28
      committed by Young Adults are even rarer. See Marvell Dec. ¶¶ 18-19 and Ex. 10, at
                                                       18
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.176        Page 23
                                          of 29



  1   238-244; Lott Dec. ¶ 16. In fact, no credible evidence supports the proposition that
  2
      raising the age to purchase or acquire a firearm will make any difference in curtailing
  3

  4   mass school shootings. Marvell Dec ¶¶ 5-8; Lott Dec. ¶¶ 6-19, Ex. 1-7. This is

  5   because (1) shooters buy guns from sources other than licensed dealers (Lott Dec. ¶¶
  6
      7-8, Ex. 2); (2) criminals are still going to obtain guns (Lott Dec. ¶ 9, Ex. 3); (3) age
  7

  8   is not a significant factor in mass public shootings (Lott Dec. ¶ 10, Ex. 4 [average

  9   shooter age is approximately 33 years-old]); and (4) contrary to government
 10
      statements, mass school shootings are not generally committed by people “under 21.”
 11

 12   (Lott Dec. ¶ 16). Further, the other government-referenced shooting in California was

 13   in San Bernardino (a non-school shooting by people older than 21 years of age).
 14
      Dillon Declaration filed concurrently herewith (Dillon Dec.), ¶ 9, Ex. 6.
 15

 16         Though an attempt to reduce mass school shootings is an understandable
 17   interest, Section 27510’s ban is also not a “reasonable fit.” There is no connection, no
 18
      “fit.” In short, the Legislature did not analyze the purported issue (mass school
 19

 20   shootings committed by Young Adults) and the proposed solution (banning Young
 21   Adults from all lawful firearms sales, transfers, use, rentals). See also Marvell Dec. ¶¶
 22
      18-19, Ex. 11.
 23

 24                      b.      “Maturity, Impulsive, Reckless”
 25         Supporters of California’s age-based gun ban asserted that “[m]aturity,
 26
      impulsive,    or    reckless     behavior,      and    responsibility      vary     greatly     among
 27

 28   18-20-year-olds” and that other laws prohibit those under 21 from buying alcohol or

                                                       19
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.177        Page 24
                                          of 29



  1   renting a car, so that the same age restriction should apply to ban the purchase or
  2
      acquisition of all firearms. Combs Dec. ¶ 10, Ex. 2, at 11-12. The author of SB 1100
  3

  4   echoed the above-sentiments, claiming “there are a number of instances when

  5   lawmakers have limited the ability of persons under the age of 21 to engage in
  6
      activities which are otherwise lawful (e.g., under 21 bans on alcohol, cigarettes, and
  7

  8   marijuana). Id., at 11. This comparison is extraordinarily flawed; fundamental rights

  9   are not vices, nor can they be treated as vices. Lott Dec. ¶ 14. Additionally, no
 10
      evidence or data was provided to support such assertions. These same Young Adults
 11

 12   “are considered mature enough to vote and register to train and serve in the U.S.

 13   armed forces.” Lott Dec. ¶ 17. Also contrary to supporter’s anecdotal statements is the
 14
      relatively low revocation rates of college age students that have concealed carry
 15

 16   permits. Id., at ¶¶ 18-19.
 17         Moreover, Section 27510’s ban is not narrowly tailored, nor substantially
 18
      related to the perceived problem. The ban applies to lawful dealer sales and transfers,
 19

 20   not illegal transfers. The ban applies to Young Adults with and without criminal
 21   histories. It applies to Young Adults with mental health issues and those without. It
 22
      applies to Young Adults who live with their parents and those who live alone. It also
 23

 24   applies to those who are married with children.
 25                     c.     “Reduce Crime/Gun Violence”
 26
            The “author’s statement” justifying California’s age-based gun ban states it is a
 27

 28   “proper step toward public safety” and responsive to requests to reduce “gun

                                                       20
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.178        Page 25
                                          of 29



  1   violence.” Combs Dec. ¶ 13, Ex. 3, at 15. No evidence or data is offered or in the
  2
      legislative record, but certainly they are laudable interests — public safety and
  3

  4   reduced gun violence. However, with this level of generality, the interests could

  5   justify any law and virtually any statutory ban. Most importantly, “there is no
  6
      evidence that gun laws banning the purchase or possession of firearms based on age
  7

  8   restrictions have the intended effect of reducing gun homicides and suicides.” Marvell

  9   Dec. ¶ 5. After undertaking an in-depth analysis, Marvell concludes: “I have found no
 10
      discernable crime-reduction impact.” Id. Moreover, despite the federal law prohibiting
 11

 12   gun dealers from selling handguns to persons under 21, an important study tested

 13   whether arrests for three violent crimes trended downward or upward after the law
 14
      went into effect. Study results showed that “the federal law had no impact on the 18-
 15

 16   to-20-year-old share of arrests for violent crime.” Id. ¶ 9, Ex. 2. Moreover, the ban is a
 17   categorical ban, the opposite of a narrowly tailored, or a “reasonable fit.” See also
 18
      Marvell Dec. ¶ 17, Ex. 10.
 19

 20                     d.     “Disproportionality”
 21         Supporters of SB 1100 cited statistics that those under 21-years-old are
 22
      “disproportionally linked to crime.” Combs Dec. ¶ 14, Ex. 4, at 20. This data is badly
 23

 24   skewed. Yes, persons 18-to-20 commit murders at a higher rate comparatively. But
 25   the same can be said of persons 21-to-25, who commit murders at a higher rate than
 26
      people in the 26-30 age range. Persons 36-45 commit crimes at a considerably higher
 27

 28   rate than those 46-50, but this finding does not mean we ought to ban firearms from

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              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.179        Page 26
                                          of 29



  1   people 36 through 45. Lott ¶ 11-12; and see Hardy Dec. ¶ 25, Ex. 17, at 472. The
  2
      same flawed point can be made based on race. Americans of some races commit
  3

  4   violent crimes at higher rates than persons of other races. Lott Dec. ¶¶ 12; Hardy Dec.

  5   ¶¶ 25, 69-70, Ex. 17, at 472. Likewise, males perpetuate violent crimes at a much
  6
      higher rate than females. Lott Dec. ¶ 13; Hardy Dec. ¶¶ 25, 69-70, Ex. 17, at 472.
  7

  8   Rights cannot be destroyed because of irresponsible behavior by other persons of the

  9   same age, race, or sex.
 10
            The State’s “fit” is grossly over broad. Prohibiting lawful conduct of all Young
 11

 12   Adults is contrary to the fundamental principle, “deeply etched in our law [that] a free

 13   society prefers to punish the few who abuse rights … after they break the law than to
 14
      throttle them and all others beforehand.” Vicenty v. Bloomberg, 476 F.3d 74, 85 (2nd
 15

 16   Cir. 2007) quoting Se. Promotions, Ltd. V. Conrad, 420 U.S. 546, 559 (1975)
 17   (upholding injunction against ban on sale to and possession of spray paint and broad-
 18
      tipped markers by person under 21 to combat graffiti).
 19

 20         D.          The Other Preliminary Injunction Factors Warrant
                        Relief
 21
            As shown, Plaintiffs are likely to succeed on the merits as Section 27510 is a
 22

 23   categorical under-21 ban and fails both strict and intermediate scrutiny. Plaintiffs also
 24
      satisfy the other preliminary injunction factors. “It is well established that the
 25

 26
      deprivation of constitutional rights ‘unquestionably constitutes irreparable injury.”

 27   Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427
 28
      U.S. 347, 373 (1976)); 11A Charles Alan Wright et al., Federal Practice and
                                                       22
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.180        Page 27
                                          of 29



  1   Procedure § 2948.1 (2d ed. 1995) (“When an alleged deprivation of a constitutional
  2
      right is involved, most courts hold that no further showing of irreparable injury is
  3

  4   necessary.”). Plaintiffs have been deprived of their Second Amendment rights.

  5         Further,     the     Ninth     Circuit      has    applied      the     First    Amendment’s
  6
      “irreparable-if-only-for-a-minute” rule to cases involving other rights and, in doing so,
  7

  8   has held a deprivation of these rights represents irreparable harm per se. Monterey

  9   Mech. Co. v. Wilson, 125 F.3d 702, 715 (9th Cir. 1997). See also Ezell v. Chicago,
 10
      651 F.3d 684, 700 (7th Cir. 2011) (a deprivation of the right to arms is “irreparable,”
 11

 12   with “no adequate remedy at law”).

 13         When challenging government action that affects the exercise of constitutional
 14
      rights, “[t]he public interest … tip[s] sharply in favor of enjoining the” law. Klein v.
 15

 16   City of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009) (emphasis added).
 17   Plaintiffs seek to restore their Second Amendment rights and continue to be able to
 18
      purchase, transfer, acquire, rent, and use firearms for self-defense and all other lawful
 19

 20   purposes. Thus, not only are Plaintiffs’ rights at stake, but so are the rights of all
 21   Young Adults in California — as well as those who will become Young Adults in the
 22
      future. Thus, the public interest tips sharply in Plaintiffs’ favor. Id. at 1208.
 23

 24         Defendants have no plausible argument that enjoining enforcement of
 25   Califonia’s age-based gun ban will endanger public safety or lead to an increase in
 26
      mass school shootings. Marvell Dec. ¶¶ 1-19, Exs. 1-10; Lott Dec. ¶¶ 1-19, Exs. 1- 8.
 27

 28   Young Adults were able to purchase/acquire long guns up until January 1, 2019.

                                                       23
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG        Document 12-1 Filed 10/04/19              PageID.181        Page 28
                                          of 29



  1         Further, if properly enjoined, all firearm purchases must still go through federal
  2
      and state background checks; they also must still: (a) take and pass the firearms safety
  3

  4   test; (b) present a valid firearm safety certificate for any such purchase; (c) provide

  5   multiple proofs of age and residency; (d) complete a ten-day waiting period; (e)
  6
      complete a safe handling demonstration of the firearm being purchased; (f) sign a gun
  7

  8   safe affidavit or purchase a firearm cable lock; (g) complete a background check for

  9   ammunition; and (h) comply with all potentially relevant assault weapon regulations.
 10
      This list is not exhaustive but provides a brief summary of the vast array of firearms
 11

 12   regulations already in place that, according to Defendants, ensure public safety.

 13         Further, Defendants have cited no evidence that Young Adults who pass and
 14
      complete the above conditions are more prone to commit an act of violence with that
 15

 16   firearm than any other lawful adult. Again, all evidence suggests that age-based
 17   firearm restrictions have no effect on homicides, suicides, and mass shootings. See
 18
      Marvell Dec. ¶¶ 5-19, Exs. 2-11. On the other hand, continuing to allow Young
 19

 20   Adults to purchase firearms serves the public interest as it allows this class — one that
 21   is most likely to fall victim to violent crime — to protect themselves. Lott Dec. ¶ 21.7
 22
            The final factor considers “the balance of hardships between the parties.”
 23

 24   Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1137 (9th Cir. 2011). The
 25   state “cannot suffer harm from an injunction that merely ends an unlawful practice or
 26
 27
      7
 28    See also Dillon Dec. ¶ 3, Ex. 1 (Bureau of Justice Statistics, Special Report, Age
      Patterns of Victims of Serious Violent Crime at 1-7).
                                                       24
              PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
Case 3:19-cv-01226-L-AHG           Document 12-1 Filed 10/04/19                    PageID.182          Page 29
                                             of 29



      reads a statute as required to avoid constitutional concerns." Rodriguez v. Robbins,
  2
      715 F.3d 1127, 1145 (9th Cir. 2013); see also Valle del Sollnc. v. Whiting, 732 F.3d
  3

  4   1006, 1029 (9th Cir. 2013) (" [I]t is clear that it would not be equitable ... to allow the

  5   state ... to violate the requirements of federal law. ") (citations omitted).
  6
            The balance of hanns tips sharply in Plaintiffs' favor. Prohibiting lawful sales,
  7

  8   transfers, acquisitions, use, handling, and rentals of any firearm does not increase

  9   public safety, especially where, as here, all such purchases must comply with a vast
 10
      array of regulations, identified as "the most stringent gun laws in the country." Combs
 11

 12   Dec. ~ 12, Ex. 2, at 8. Plaintiffs merely seek to "preserve, rather than alter, the status

 13   quo while they litigate the merits ofth[eir] action." Radde v. Bonta, 357 F.3d 988, 999
 14
      n. 14 (9th Cir. 2004 ). Granting Plaintiffs' request for an injunction will merely allow
 15

 16   law-abiding Young Adults to purchase/acquire firearms in compliance with state law.
 17
      By enjoining Section 27 510, Plaintiffs, as well as those similarly situated, will be free
 18
      to exercise their fundamental Second Amendment right.
 19
 20   VI.    CONCLUSION
 21         For the foregoing reasons, Plaintiffs' request that the Court declare the law to
 22
      be unconstitutional and enjoined.
 23

 24   October 4, 2019                                    Respectfully submitted,
 25
                                                         Gatzke, Dillon & Ballance LLP
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                                                        By:                 ;:~
 27
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